            Case 1:19-cv-00013-JL Document 17 Filed 01/11/19 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE


John Doe

       v.                                      Civil No. 19-cv-13-JL

Trustees of Dartmouth College


                                       ORDER


       The plaintiff’s motion for a temporary restraining order 1 is

denied for the reasons stated on the record of today’s hearing.

Defendant’s counsel shall, however, with respect to the three

winter-term courses in which the plaintiff was enrolled:

(1) identify the course texts to plaintiff’s counsel and

(2) provide plaintiff’s counsel with those course materials

provided to other students in the course (e.g., syllabus and

assignments) no later than January 15, 2019.



       SO ORDERED.



                                       ____________________________
                                       Joseph N. Laplante
                                       United States District Judge

Dated:      January 11, 2019

cc:    William E. Christie, Esq.
       Alexander William Campbell, Esq.
       Suzanne Amy Spencer, Esq.

1   Document no. 13.
  Case 1:19-cv-00013-JL Document 17 Filed 01/11/19 Page 2 of 2



Daryl J. Lapp, Esq.
Katherine Ann Guarino, Esq.
Elizabeth H. Kelly, Esq.




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